




NO. 07-05-0017-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MARCH 3, 2005

______________________________



MISTY BELITZ,



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE COUNTY COURT OF DEAF SMITH COUNTY;



NO. 04-0396; HON. TOM SIMONS, PRESIDING

_______________________________



ON MOTION TO DISMISS



__________________________________



Before JOHNSON, C.J., and QUINN and REAVIS, JJ.

Appellant Misty Belitz, by and through her attorney, has filed a motion to dismiss this appeal because she no longer desires to prosecute it. &nbsp;Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.1(a)(2) and dismiss the appeal. &nbsp;Having dismissed the appeal at appellant’s request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Brian Quinn

 &nbsp;&nbsp;Justice

Do not publish.


